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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    RIVERBED TECHNOLOGY, INC., et al.,1                              )     Case No. 21-11503 (CTG)
                                                                     )
                             Reorganized Debtors.                    )     (Jointly Administered)
                                                                     )

               REORGANIZED DEBTORS’ MOTION FOR ENTRY OF
        A FINAL DECREE CLOSING THE CHAPTER 11 CASES PURSUANT TO
     SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

             The above-captioned reorganized debtors (collectively, the “Reorganized Debtors,” and

before the Effective Date2 of the Plan, the “Debtors”) respectfully state as follows in support of

this motion:

                                                 Relief Requested

             1.     By this motion, the Reorganized Debtors seek entry of a final decree (the “Final

Decree”) closing the Reorganized Debtors’ chapter 11 cases.

                                             Jurisdiction and Venue

             2.     The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Reorganized Debtors confirm their consent, pursuant to rule 9013-1(f) of



1     The reorganized debtors in these chapter 11 cases, along with the last four digits of each reorganized debtor’s
      federal tax identification number, are: Riverbed Technology, Inc. (8754); Aternity LLC (8754); Riverbed
      Holdings, Inc. (6675); and Riverbed Parent, Inc. (2610). The location of the reorganized debtors’ service address
      in these chapter 11 cases is: 680 Folsom Street, San Francisco, CA 94107.

2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Amended
      Joint Prepackaged Chapter 11 Plan of Reorganization of Riverbed Technology, Inc. and Its Debtor Affiliates
      [Docket No. 144] (as amended, supplemented, or otherwise modified from time to time, the “Plan”).
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the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The statutory bases for the relief requested herein are section 350(a) of title 11 of

the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rule 3022 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rule 3022-1.

                                             Background

        5.      On November 16, 2021 (the “Petition Date”), each of the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. During the pendency of their

chapter 11 cases, the Debtors operated their business and managed their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No party requested the

appointment of a trustee or examiner and no official committees were appointed in these chapter

11 cases.

        6.      On November 18, 2021, the Court entered an order granting procedural

consolidation and joint administration of the following cases under In re Riverbed Technology,

Inc. [Docket No. 79]:

                                   Debtor                              Case No.
                 Riverbed Technology, Inc.                          21-11503 (CTG)
                 Aternity LLC                                       21-11504 (CTG)
                 Riverbed Holdings, Inc.                            21-11505 (CTG)
                 Riverbed Parent, Inc.                              21-11506 (CTG)




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       7.      On December 4, 2021, the Court entered the Order (I) Approving the Disclosure

Statement for, and Confirming, the Amended Joint Prepackaged Chapter 11 Plan of

Reorganization of Riverbed Technology, Inc. and Its Debtor Affiliates, and (II) Granting Related

Relief [Docket No. 169] (the “Confirmation Order”).

       8.      The Plan became effective on December 7, 2021 (the “Effective Date”). See Notice

of (I) Entry of Order Approving the Debtors’ Disclosure Statement For, and Confirming, the

Debtors’ Amended Joint Prepackaged Plan of Reorganization Pursuant to Chapter 11 of the

Bankruptcy Code and (II) Occurrence of Effective Date [Docket No. 173].

       9.      As of the date hereof, the Reorganized Debtors have resolved or Reinstated all

outstanding prepetition claims and made all applicable distributions on account of such claims in

a manner consistent with the Plan. The services of Stretto, Inc. (“Stretto”) will terminate upon

Stretto completing the services set forth in the Final Decree. All matters related to professional

fees have been resolved and no administrative claims have been filed. Moreover, pursuant to

Article III.B of the Plan, the Reorganized Debtors will continue to resolve any outstanding claims

in the ordinary course of their businesses. Accordingly, there are no remaining matters to be

addressed in these chapter 11 cases. Leaving these chapter 11 cases open past the date hereof

would impose significant and unnecessary costs on the Debtors’ estates. Accordingly, the

Reorganized Debtors request entry of the Final Decree.

                                         Basis for Relief

       10.     Section 350(a) of the Bankruptcy Code provides that “[a]fter an estate is fully

administered and the court has discharged the trustee, the court shall close the case.” Bankruptcy

Rule 3022, which implements section 350 of the Bankruptcy Code, further provides “[a]fter an

estate is fully administered in a chapter 11 reorganization case, the court, on its own motion or on

motion of a party in interest, shall enter a final decree closing the case.” Local Rule 3022-1(a)
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provides “[u]pon written motion, a party in interest may seek the entry of a final decree at any time

after the confirmed plan has been fully administered provided that all required fees due under

28 U.S.C. § 1930 have been paid.”

       11.     The term “fully administered” is not defined in the Bankruptcy Code, the

Bankruptcy Rules, or the Local Rules. The Advisory Committee Note to Bankruptcy Rule 3022

(the “Advisory Committee Note”), however, sets forth the following non-exclusive factors to be

considered in determining whether a case has been fully administered:

               a.      whether the order confirming the plan has become final;

               b.      whether deposits required by the plan have been distributed;

               c.      whether the property proposed by the plan to be transferred
                       has been transferred;

               d.      whether the debtor or the successor of the debtor under the
                       plan has assumed the business or the management of the
                       property dealt with by the plan;

               e.      whether payouts under the plan have commenced; and

               f.      whether all motions, contested matters, and adversary
                       proceedings have been finally resolved.

Fed. R. Bankr. P. 3022 Advisory Committee Note.

       12.     All of these factors need not be present before a court will enter a final decree.

Walnut Assocs. v. Saidel, 164 B.R 487, 493 (E.D. Pa. 1994) (“[A]ll of the factors in the Committee

Note need not be present before the Court will enter a final decree.”). Courts in this district and

others adopt the view that “these factors are but a guide in determining whether a case has been

fully administered, and not all factors need to be present before the case is closed.” In re SLI, Inc.,

2005 WL 1668396, at *2 (Bankr. D. Del. June 24, 2005) (citing In re Mold Makers, Inc., 124 B.R.

766, 768–69 (Bankr. N.D. Ill. 1990)); see also In re Kliegl Bros. Universal Elec. Stage Lighting

Co., Inc., 238 B.R. 531, 542 (Bankr. E.D.N.Y. 1999) (recognizing that bankruptcy courts weigh

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the factors contained in the Advisory Committee Note when deciding whether to close a case); In

re Jay Bee Enters., Inc., 207 B.R. 536, 538 (Bankr. E.D. Ky. 1997) (same).

       13.     The foregoing factors weigh strongly in favor of finding that these chapter 11 cases

have been “fully administered” within the meaning of section 350 of the Bankruptcy Code, making

it appropriate for the Court to enter the Final Decree. In particular:

               a.      the Confirmation Order has become final and is
                       non-appealable;

               b.      substantially all distributions provided for under the Plan for
                       classified claims have been made and any remaining
                       distributions will be made in the ordinary course of the
                       Reorganized Debtors’ businesses;

               c.      all material transactions contemplated by the Plan have been
                       completed and the Plan has been substantially consummated
                       within the meaning of section 1101(2) of the Bankruptcy
                       Code;

               d.      the Reorganized Debtors have assumed the business and
                       management of the assets of the Debtors as reorganized
                       entities;

               e.      the Reorganized Debtors have emerged from chapter 11; and

               f.      parties in interest are not unfairly prejudiced as these chapter
                       11 cases may be reopened, if necessary.

       14.     As of the date hereof, the Reorganized Debtors are not aware of any motions,

contested matters, or adversary proceedings related to the Reorganized Debtors that are pending

or have not otherwise been finally resolved.

       15.     Section 1930(a)(6) of title 28 of the U.S. Code requires that quarterly fees be paid

to the Office of the U.S. Trustee after confirmation and consummation of a chapter 11 plan until a

debtor’s case is closed. Such fees are a financial burden on the Reorganized Debtors and approval

of this motion would result in the Reorganized Debtors saving approximately $400,000 per quarter.

The Reorganized Debtors will make any final payments due to the Office of the U.S. Trustee and

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the Clerk of the Court in connection with this motion. Based on the foregoing, ample justification

exists for entry of the Final Decree closing these chapter 11 cases.

                                        The Closing Report

         16.   In accordance with the requirements of Local Rule 3022-1(c), attached hereto as

Exhibit B, is a copy of the closing report, which includes a summary of the fees and expenses

awarded to the professionals retained by the Reorganized Debtors during these chapter 11 cases,

as well as additional information regarding distributions made pursuant to the Plan.

                                      Reservation of Rights

         17.   The Reorganized Debtors reserve their right to seek to reopen these chapter 11

cases.

                                               Notice

         18.   The Reorganized Debtors will provide notice of this motion to the following parties

or their respective counsel: (a) the U.S. Trustee for the District of Delaware; (b) the holders of the

30 largest unsecured claims against the Reorganized Debtors (on a consolidated basis); (c) the Ad

Hoc Group and the Ad Hoc 1L Subgroup; (d) the agents under each of the Reorganized Debtors’

prepetition secured credit facilities; (e) the indenture trustee under the Unsecured Notes Indenture;

(f) the office of the attorney general for each of the states in which the Reorganized Debtors

operate; (g) the United States Attorney’s Office for the District of Delaware; (h) the Internal

Revenue Service; and (i) any party that has requested notice pursuant to Bankruptcy Rule 2002.

The Reorganized Debtors submit that, in light of the nature of the relief requested, no other or

further notice need be given.

                                         No Prior Request

         19.   No prior request for the relief sought in this motion has been made to this or any

other court.

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         WHEREFORE, the Reorganized Debtors respectfully request that the Court enter the Final

  Decree granting the relief requested herein and such other relief as the Court deems appropriate

  under the circumstances.

Dated: March 15, 2022                /s/ Laura Davis Jones
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